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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
                     EASTERN DIVISION, YOUNGSTOWN


EAST PALESTINE CITY SCHOOL DISTRICT
BOARD OF EDUCATION,
                                               Case No. 4:25-cv-00862
                 Plaintiff,
                                               Complaint with Jury Demand
      v.

NORFOLK SOUTHERN CORPORATION,
NORFOLK SOUTHERN RAILWAY COMPANY,

                 Defendants.


                                    INTRODUCTION

      Plaintiff East Palestine City School District Board of Education alleges the

following against Defendants Norfolk Southern Corporation and Norfolk Southern

Railway Company (“Norfolk Southern”), based where applicable on personal

knowledge, information and belief, and the investigation and research of counsel.

                                 NATURE OF ACTION

      1.     This action seeks to recover the losses incurred by the East Palestine

City School District as a result of the train derailment on February 3, 2023 and its

short- and long-term aftermath. Since the derailment, Norfolk Southern has reported

over $16 billion dollars in profits (not revenue, profits). It achieved those substantial

gains because it has privatized the profits of its operations while socializing the costs

of the trainwreck on to the local community, including the Board of Education, for

years to come.
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      2.     The operating budget of the schools relies on local property and income

taxes. The impact of the diminution in property values and the lost income of

residents to the School District, both to date and continuing into the future, should—

in fairness and based on its repeated commitments to the community—be borne fully

and completely by Norfolk Southern. Yet the community continues to absorb the costs

of this disaster in the form of lost operating revenue to the School District.

      3.     Norfolk Southern failed to fulfill its commitment to reimburse the School

District for the costs incurred as a result of the derailment, including for housing and

transporting residents displaced by the mandatory evacuation orders and the use of

its school facilities during the emergency response.

      4.     Norfolk Southern further failed to fulfill its promise to invest in the

community by building a community wellness and development center on School

District property and relocating and rebuilding the existing athletics facilities.

      5.     The School District, and the students it serves, have been harmed by

Norfolk Southern’s failure to meet its obligations and fulfill its promises and

remediate the continuing impact of the derailment. In short, Norfolk Southern has

not “made it right” as it promised to do.

                                       PARTIES

      6.     Plaintiff East Palestine City School District Board of Education is duly

elected and constituted per Ohio Rev. Code §§ 3311.02 and 3313.02.

      7.     Defendant Norfolk Southern Corporation (“NSC”) is a corporation

formed in Virginia with its headquarters and principal place of business in Atlanta,

Georgia.


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       8.     Defendant Norfolk Southern Railway Company (“NSRC”) is a wholly

owned subsidiary of NSC. NSRC is a Class I railroad corporation formed in Virginia

with its headquarters and principal place of business in Atlanta, Georgia.

       9.     Upon information and belief, NSRC has consistently held itself out as

conducting business affairs as a conduit for NSC in connection with the ownership

and operation of their railway enterprise. Additionally, NSC and NSRC constituted

a joint venture in connection with their railway enterprise in that they agreed to

undertake ownership and operation of the enterprise jointly for the purpose of

sharing associated profits and losses, and in connection therewith, each contributed

their respective skills, property or resources in exercising control or right of control

over the facilities.

       10.    Defendants are referred to collectively as “Norfolk Southern”

throughout this complaint.

                              JURISDICTION AND VENUE

       11.    This Court has jurisdiction under 28 U.S.C. § 1332(a) because the

parties are citizens of different States and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

       12.    This Court has jurisdiction over Defendants because they systematically

transact and conduct business in Ohio, including by transporting hazardous

materials by train, from which they derive substantial revenue. Norfolk Southern

expected, or should have expected, that its acts would have consequences within Ohio.

Norfolk Southern committed the tortious acts complained of in this State, causing

injuries within this State.


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      13.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred and/or

emanated from this District.

                                 FACTUAL ALLEGATIONS
                                   The Derailment

      14.    Norfolk Southern’s Keystone–Fort Wayne Line runs through the Village

of East Palestine. About 46 trains pass through this community each day.

      15.    At all relevant times, it was Norfolk Southern’s exclusive obligation to

ensure that the railcars it was transporting were in proper working order.

      16.    On Friday February 3, 2023, at approximately 8:54 p.m., Norfolk

Southern Railway Train 32N derailed 38 mixed freight railcars in East Palestine, at

milepost 49.5 on the Norfolk Southern Fort Wayne Line of the Keystone Division,

about a quarter-mile west of the Ohio-Pennsylvania line (Latitude: 40.8360864°N,

Longitude: -80.5215884°W).

      17.    The derailment occurred because a bearing on a hopper car overheated

and caused an axle to separate.

      18.    The hopper car—GPLX75465—had been in service for more than 25

years at the time of the derailment.

      19.    Overheated bearings occur when inadequate lubrication, component

misalignment, or mechanical damages increase bearing friction.

      20.    There are temperature detectors on the Keystone–Fort Wayne Line that

measure and record the temperature of each railcar wheelset as the train passes

through (“hot box detectors”).



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       21.    At the time of the derailment, it was or should have been known to

Norfolk Southern that the hot box detectors it chose to employ measure temperature

on the exterior of the bearing cap and tend to lag behind temperature changes in the

bearing’s interior, taking 30–60 minutes to accurately reflect an internal temperature

increase from a reading taken on the exterior bearing cap.

       22.    The other main type of wayside bearing detectors besides hot box

detectors are acoustic bearing detectors. They monitor bearings for potential flaws by

evaluating each bearing’s acoustic signal as it passes wayside microphones. They are

intended to identify early signs of bearing degradation and allow rail companies to

meet their obligation to service or replace bearings before they fail.

       23.    Norfolk Southern chose not to employ acoustic bearing detectors on its

Keystone–Fort Wayne Line.

       24.    The final three hot box detectors the train passed before derailment are

pictured below (as depicted in the National Transportation Safety Board’s Railroad

Investigation Report RIR-24-05, Norfolk Southern Railway Derailment and

Hazardous Materials Release, East Palestine, Ohio, February 3, 2023 (June 25, 2024)

(“NTSB Report”)): 1




1 Plaintiff does not incorporate or allege the truth of any aspect of the NTSB Report except as
specifically alleged in this Complaint.


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       25.     As the train passed through Sebring (30 miles west of the derailment),

the hot box detector recorded a temperature of 38˚F above ambient temperature on

the right side of the hopper car. On the left side, the temperature was measured at

20˚F   above    ambient    temperature.   Despite    the   increased and differential

temperatures on the respective sides of the car, no alarm sounded and no alert was

transmitted.

       26.     The next hot box detector was in Salem (20 miles west of East Palestine).

It recorded a consistent right-side temperature of 30˚F above ambient temperature

on the hopper car. The left-side temperature, however, was 103˚F above ambient

temperature.

       27.     Norfolk Southern’s above-ambient threshold for a “non-critical alert”

was 90˚F.

       28.     Norfolk Southern chose to adopt procedures that do not alert the train’s

crew or require them to stop and inspect the train under the circumstances

encountered on February 3, 2023. This procedure was plainly inadequate, as at the



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same time as the hot box detector recorded this “non-critical” temperature on

wheelset #1 of the hopper car, it was already visibly on fire as seen in the following

still shot from surveillance video in Salem (as depicted in the NTSB Report):




       29.    Norfolk Southern’s standard operating procedures and the spacing it

chose between its hot-bearing detectors transmitted only a low-priority alert that did

not reflect the true condition of the failing bearing.

       30.    Procedures that do not alert a train’s crew that a wheelset is literally on

fire are plainly inadequate to ensure safe operation of a train.

       31.    Norfolk Southern had 20 miles of track on which to stop the train before

it derailed in East Palestine.

       32.    Norfolk Southern instead, consistent with its inadequate procedures,

continued to operate the train for an additional 40 minutes after it was already on

fire before it derailed.




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       33.     Had Norfolk Southern adopted proper procedures, this disaster would

have been avoided.

       34.     The “non-critical alert” from the drastic increase in temperature on the

hopper car’s left-side bearing between Sebring and Salem was transmitted to Norfolk

Southern’s Wayside Help Desk in Atlanta, Georgia. At the Help Desk, Norfolk

Southern decided to have a single analyst working 12-hour shifts to monitor the

entire rail system. The analyst on duty did not see the alert from the Salem hot box

detector because he was working on another problem.

       35.     Staffing the Help Desk with just one employee was plainly inadequate

to monitor the operations of the entire rail system. It was foreseeable that two

problems could occur at the same time on different trains. Norfolk Souther’s decision

the understaff the Help Desk was based on maximizing its profits at the expense of

rail safety.

       36.     When the train reached the East Palestine hot box detector 20 miles

after the “non-critical alert” while the train was on fire, the detector recorded the

maximum temperature (253˚F above ambient temperature). The temperature may

have been higher.

       37.     The maximum-temperature reading from the hot box detector triggered

a “critical alarm” and finally alerted the train’s crew to the fact that the hopper car

was aflame. The crew began to slow the train. But it was too late.

       38.     A total of 38 railcars derailed. The derailed equipment included 11 tank

cars carrying hazardous materials.




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      39.    Three of those 11 tank cars, carrying flammable and combustible

hazardous materials, were mechanically breached during the derailment and

released cargo.

      40.    Those three cars, and 32 others, caught fire in the ensuing conflagration.

      41.    One of the breached cars contained butyl acrylates, which spilled on to

the ground and burned in a ditch beside the tracks for hours.

      42.    The ditch fire ignited lading from tank cars containing butyl acrylates,

ethylene glycol monobutyl ether, 2-ethylhexyl acrylate, propylene glycol, diethylene

glycol, and petroleum lubricating oil; hopper cars containing plastic pellets

(polyethylene and polyvinyl); and box cars containing various freights.

      43.    Five of those 11 cars were carrying vinyl chloride monomer, a

compressed liquified flammable gas. Those cars were not mechanically breached

during the derailment but were exposed to fires and released materials from

pressure-relief devices over the next day.

      44.    Norfolk Southern delayed transmitting train-consist information to

emergency responders, increasing responders and the public’s exposure to post-

derailment hazards and limiting their ability to safely and effectively respond.

      45.    Norfolk Southern did not immediately provide information about the

railcars’ contents in response to the East Palestine dispatch’s request to the Norfolk

Southern dispatch in Atlanta.




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      46.    During this same window of time, Norfolk Southern dispatch did

communicate with the train crew, authorizing them to separate the lead locomotives

and move them away from the fire (thus protecting Norfolk Southern’s property).

      47.    The initial incident commander—the East Palestine deputy fire chief—

never received a physical or electronic copy of the train’s manifest. He reported to

NTSB that he learned that there was vinyl chloride and benzene on the train by “word

of mouth.”

      48.    In the immediate aftermath of the derailment and resulting chemical

fires, local officials issued an urgent warning advising those within one mile of the

crash site to evacuate.

      49.    The following image from the NTSB Report depicts the resulting fire:




      50.    At midnight, the Norfolk Southern northern regional hazmat manager

advised the deputy fire chief to suspend fire-suppression activities and withdraw


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personnel and equipment to a safer distance. The deputy fire chief complied and

relocated the command post to the combined fire and police station a mile away.

      51.    The East Palestine fire chief, who was on leave at the time of the

derailment, arrived on scene at 2:00 a.m. and assumed the role of incident

commander from his deputy. And fire-suppression activities resumed in the early

morning but were again ceased.

             Norfolk Southern’s Unnecessary Vent-and-Burn Plan

      52.    At around midnight on February 4, 2023, a pressure release device on

one of the railcars of vinyl chloride actuated.

      53.    Pressure-release-device actuation occurs when the pressure inside a

tank reaches a pressure high enough to open the valve. The valve closes when the

tanks pressure falls low enough for the valve to close. For railcars exposed to a pool

fire, the pressure release device cycles through multiple times.

      54.    Four of the five vinyl-chloride cars experienced pressure-release-device

cycling, which ceased by approximately 6:45 p.m. on February 4.

      55.    In   the   meantime,     Norfolk     Southern   communicated   with   the

manufacturer of the vinyl chloride—OxyVinyls—about the risk of explosion. In

addition to providing support remotely, by having experts available to answer

questions relating to the potential for vinyl chloride to polymerize, OxyVinyls sent

three employees to the scene of the derailment to assist on site.

      56.    OxyVinyls assessed the risk of explosion through polymerization as low

and recommended monitoring for an increase in temperature along with modeling to

assess the possible consequences of a tank car failure.


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      57.    By that time, however, Norfolk Southern and its agents were already

considering a vent and burn for all five vinyl-chloride cars because it was the quickest

way to get trains running on the tracks again.

      58.    In a vent and burn, a tank car is punctured with explosives at the

highest point in the tank to reduce the pressure in the tank car, then punctured with

explosives at the lowest point in the tank to release the contents, which are directed

through a trench and burned in a pit.

      59.    There are multiple ways to release the contents of a railcar (e.g., product

transfer, flaring, and a hot tap).

      60.    According to the United States Department of Transportation, Federal

Railroad Administration’s Handbook for Vent and Burn Method of Field Product

Removal (1994), a vent-and-burn tactic is the last resort to unload a damaged tank

car, to be used “only when all other emergency product removal methods have been

considered and rejected, and the consequences of not relieving the internal tank car

pressure are determined to be greater than using this procedure.”

      61.    Temperature monitoring of the five vinyl-chloride cars by a Norfolk

Southern contractor revealed that four of the five were stable and one was elevated

(though was progressing in a downward direction through the eventual

implementation of the vent and burn). Norfolk Southern, however, took the position

that it was not confident in the measured readings and suspected that the readings

were low. The vinyl-chloride manufacturer disagreed and consistently maintained its




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position that polymerization was not occurring (meaning there was no risk of

explosion and thus no need to breach the tanks).

      62.    Norfolk Southern and its agents recommended, authorized, and carried

out the vent and burn of the five vinyl-chloride railcars.

      63.    On the morning of Sunday, February 5, 2023, the incident command site

was relocated to East Palestine Elementary School and Board Offices to accommodate

the personnel on the scene. Plaintiff cooperated with Norfolk Southern in making

school facilities available. School employees, some of whom worked around the clock,

through the weekend, and overnight, answered Norfolk Southern’s call for assistance

and ensured that the facilities were functioning and available for disaster-response

efforts. Evacuated East Palestine residents were housed in the middle and high

schools. Incident command left the facilities on or about February 12, 2023.

      64.    As a result of Norfolk Southern’s use of the facilities, the elementary

school parking lot was damaged. Additionally, the middle and high school gymnasium

floors were damaged.

      65.    The vent-and-burn plan was implemented by the incident commander

managing the response based on information provided by Norfolk Southern and

conveyed at a meeting at around noon on February 6.

      66.    OxyVinyls was not invited to or at the meeting and its dissenting opinion

(that there was not, in fact, polymerization occurring, meaning the vent and burn was

not necessary) was not communicated to the incident commander before he approved

the vent and burn.




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      67.    The vent-and-burn procedure was not necessary to prevent explosion of

the railcars containing vinyl chloride, as indicated by on-scene temperature trends

and subsequent examinations.

      68.    Norfolk   Southern    and    its   agents   described   explosion   or   the

polymerization of vinyl chloride as an imminent threat when expert opinions and

available evidence should have led them to reconsider their course of action.

      69.    Norfolk Southern compromised the integrity of the decision to vent and

burn the tank cars by not communicating expertise and dissenting opinions to the

incident commander making the final decision.

      70.    Norfolk Southern and its agents inaccurately represented that the tank

cars were at risk of catastrophic failure from a polymerization reaction, which created

unwarranted urgency and led to the unnecessary decision to vent and burn the vinyl-

chloride railcars.

      71.    Relying on information conveyed by Norfolk Southern, government

officials in Ohio and Pennsylvania ordered evacuation of the surrounding area and

advised residents that the conditions could cause an explosion with the potential of

deadly shrapnel traveling up to a mile.

      72.    The governors of the State of Ohio and the Commonwealth of

Pennsylvania later extended the evacuation zone to a one-mile by two-mile area

surrounding the derailment site (pictured below).




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      73.    The governors ordered this mandatory evacuation in advance of Norfolk

Southern implementing its vent and burn. The governors advised that Norfolk

Southern’s plan would release fumes into the air that could be deadly if inhaled.

Again relying on information from Norfolk Southern, the governors warned that

anyone who remained in the red evacuation zone faced grave danger of death; those

in the yellow zone were advised by the governors that they were at high risk of severe

injury, including skin burns and serious lung damage.

      74.    Before implementing the vent-and-burn plan urged by Norfolk

Southern, the incident commander was given just 13 minutes to approve Norfolk

Southern’s proposed course. Norfolk Southern attributed this suddenly urgent time

constraint to avoiding the effects of atmospheric temperature inversion, though its

true motive was to clear the tracks as fast as possible to resume its operations. The

incident commander asked Norfolk Southern’s contractors to explain why the vent


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and burn was necessary. The contractors explained that if a tank car’s pressure rose

to 150˚F, they would withdraw personnel from the area and cease any effort to

prevent an uncontrolled explosive tank rupture.

      75.    But by the time of this meeting, the highest tank car temperature had

fallen from 138˚F the previous afternoon to 126˚F. Norfolk Southern and its agents

nevertheless urged the vent and burn procedure as the only option to prevent

catastrophic failure of a tank car, leading the incident commander to consent.

      76.    Norfolk Southern did not disclose that its main concern in pushing for

the vent and burn was to reopen the tracks and resume its operations.

      77.    Norfolk Southern exaggerated and misrepresented the risk of

polymerization to obtain the incident commander’s approval.

      78.    A Norfolk Southern contractor breached the vinyl-chloride cars at 4:37

p.m. on February 6, 2023, releasing and igniting their lading.

      79.    Burning the vinyl chloride resulted in a column of black smoke that grew

into a persistent cloud containing soot particles, carbon dioxide, carbon monoxide,

hydrogen chloride, and a trace of phosgene (a toxic gas).




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      80.    The following image from the NTSB Report shows the resulting plume

of toxic smoke:




      81.    No more than three hours after the vent-and-burn, then-CEO of Norfolk

Southern Alan Shaw told at least one colleague that the site smelled like “burnt

plastic” and a “frat house basement,” and complained that he couldn’t “get the smell


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off” of himself because “it’s in [his] hair.” He and the colleague opined that “someone’s

weekend is ruined with the beer not making it to the destination” in time for the

Super Bowl, as several boxcars of beer were destroyed.

       82.    Several Norfolk Southern agents told reporters and officials in the

immediate aftermath of the vent and burn that they observed what they believed to

be vinyl chloride polymer exiting the tank cars while viewing real-time video feeds of

the vent and burn procedure.

       83.    Subsequent scientific analysis of the tank cars confirmed that no

polymerization occurred. In other words, the tank cars were not at risk of explosive

rupture due to polymerization, as the OxyVinyls officials had advised.

    The Aftermath of the Unnecessary Vent and Burn of Vinyl Chloride

       84.    East Palestine’s schools were closed from February 6–10, 2023 as a

result of the derailment and subsequent vent and burn, including sheltering

displaced residents in its facilities.

       85.    Norfolk Southern resumed rail service through East Palestine on

February 8, before residents in the evacuation zone were permitted to return to their

homes and before the schools could resume their educational mission.

       86.    The campus of the East Palestine City Schools is situated to the

northwest of the derailment site and outside the evacuation zone.

       87.    In the immediate aftermath of the derailment, the Board of Education

responded to requests from Norfolk Southern to assist in transporting and housing

evacuated residents in its facilities. District buses went door-to-door to evacuate

residents from their homes and transport them to the schools for emergency shelter.


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         88.   Akron Children’s Hospital provided East Palestine’s teachers and staff

with professional development training focused on trauma and its impact on students

to assist them with processing the disaster in their community.

         89.   Plaintiff was not able to request federal public assistance from the

Federal Emergency Management Agency (FEMA) because President Joe Biden did

not issue a Major Presidential Disaster Declaration relating to the East Palestine

derailment, in part because Norfolk Southern repeatedly represented that it would

cover all costs relating to the damage and community needs (as detailed more fully

below). It was reasonable for government authorities to rely upon the clear and

unequivocal promises of Norfolk Southern that it would cover all the costs of the

derailment.

         90.   Norfolk Southern personnel repeatedly assured Board of Education staff

that Norfolk Southern would reimburse the Board for the costs associated with the

use of its facilities and equipment. Norfolk Southern has not fulfilled its promises to

do so.

         91.   Norfolk Southern has issued numerous press releases and made other

public statements announcing its commitment to help the community recover and

thrive in the derailment’s aftermath, specifically referencing the schools.

         92.   The derailment upended the lives of the residents of East Palestine and

the community has yet to recover or thrive. East Palestine remains affected by the

perception of contamination with residents and former residents expressing concern

about the long-term health consequences of proximity to the trainwreck and chemical




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fires. The risk of additional residents relocating will impact the School District’s

operations.

        93.     On February 16, 2023, then-CEO of Norfolk Southern Corporation Alan

H. Shaw promised not to “walk away” from the community: “I know you also have

questions about whether Norfolk Southern will be here to help make things right. My

simple answer is that we are here and will stay here for as long as it takes to ensure

your safety and to help East Palestine recover and thrive…We will not let you down.”

        94.     On February 17, 2023, Norfolk Southern issued a press release assuring

that “Norfolk Southern is deeply committed to the cleanup work to ensure that East

Palestine’s residents and natural environment not only recover but thrive. The press

release quoted Mr. Shaw: “Our company will be working tirelessly every day to get

East Palestine back on its feet as soon as possible. We know we will be judged by our

actions, and we are taking this accountability and responsibility very seriously.”

        95.     The following day brought another press release quoting Mr. Shaw: “We

are going to do the right things to help East Palestine recover and thrive again.”

        96.     On February 20, 2023, Norfolk Southern issued another press release

announcing the launch of its website “NSMakingitRight.com” for the East Palestine

community. 2 The release of the “Making it Right” website included another quote

from Mr. Shaw: “I want residents of East Palestine to know that Norfolk Southern

will be in their community to help for as long as needed.”




2 Plaintiff does not incorporate or allege the truth of any aspect of the “NSMakingitRight.com” website

except as specifically alleged in this Complaint.


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      97.    Two days later, Norfolk Southern again promised that it “remains

committed to the people of the community and will continue its work to help them

thrive,” touting its efforts to “engage the community.”

      98.    On February 24, 2023, Norfolk Southern issued a press release

announcing that it had met with School District officials and was donating $300,000

to the East Palestine Schools related to concerns about the cancellation of athletic

events as a result of the incident and the corresponding loss of revenue the District

had sustained. Mr. Shaw stated: “As soon as I heard that the East Palestine Bulldogs

were not able to play in revenue-generating games, we took immediate action to help

this community. We continue to be committed to helping East Palestine residents get

back on their feet. We are in this community for the long haul, and our goal is to see

the community thrive again.” The press release also stated: “Norfolk Southern has

committed that this initial donation of $300,000 to the East Palestine City School

District will be followed by additional, future financial support.” This “initial

donation” and Norfolk Southern’s public statements about “additional, future

financial support” led the Board to believe it could reasonably rely upon promises

made by Norfolk Southern to reimburse the School District for the costs associated

with the derailment and resulting disruption as well as abide by its word as to build

the community center on school grounds and otherwise support the School District

financially to recover from the long-term costs of the derailment and its aftermath.

      99.    In a press release issued March 9, 2023, Norfolk Southern shared its

CEO’s testimony before the United States Senate Committee on Environment and




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Public Works. It included the following: “I am deeply sorry for the impact this

derailment has had on the people of East Palestine and surrounding communities,

and I am determined to make it right…Financial assistance cannot change what

happened, but it is an important part of doing the right thing…I want to be clear: this

financial assistance is just a down payment. I’ve met with…school officials…to begin

to identify ways we can invest in the future prosperity of East Palestine and support

the long-term needs of its people. We will continue to invest in East Palestine for as

long as it takes to help the community recover and thrive…I want the people of East

Palestine and the surrounding communities to know that Norfolk Southern and I are

deeply committed to them and their recovery…Again, this is a down payment. I am

going to see this through. There are no strings attached to our assistance…I

understand how much East Palestine means to each resident, and we are committed

to making this right…On behalf of the more than 19,700 hard-working employees of

Norfolk Southern, I pledge that we won’t be finished until we make it right.”

       100.   The press releases continued on March 14, 2023: “Every day since the

derailment, our goal has been to make it right for the people of East Palestine and

the surrounding communities. We are making progress every day cleaning the site

safely and thoroughly, providing financial assistance to residents and businesses that

have been affected, and investing to help East Palestine and the communities around

it thrive.”

       101.   On March 22, 2023, Norfolk Southern issued a press release sharing its

CEO’s testimony before the United States Senate Committee on Commerce, Science,




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and Transportation. The CEO echoed the sentiments and assurances previously

expressed: “I am deeply sorry for the impact this derailment has had on the people in

the region, and I am determined to make it right… Financial assistance cannot

change what happened, but it is an important part of doing the right thing… I want

to be clear: this financial assistance is just a down payment. I have visited East

Palestine and the surrounding area frequently since the accident. I’ve met with…

school officials… to begin to identify ways we can invest in the future prosperity of

the residents in the area and support the long-term needs of its people. We will

continue to invest in the affected communities for as long as it takes to help people in

the area to recover and thrive.

      102.   The Board of Education was quite reasonably persuaded by the

consistent and unequivocal public statements of Norfolk Southern’s CEO, which was

the same message its personnel were delivering to Board employees.

      103.   One of the promises that Norfolk Southern made to the Board was to

build a community wellness center on school property, including relocating and

rebuilding its existing athletic facilities (which are located on the planned site of the

wellness center).

      104.   In reliance on this promise and per Norfolk Southern’s request, the

Board and school personnel undertook substantial steps in furtherance of this plan.

The Board complied with Norfolk Southern’s request to engage stakeholders and

create a Steering Committee for the wellness center, which held a number of meetings

and generated input from students and community members about what the wellness




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center should contain and what services it should provide. District personnel devoted

substantial employee time to this endeavor, meeting at Norfolk Southern’s request

with various contractor and architect personnel, permitting soil sampling of its

property for analysis, and making site visits to other community centers in the region

to explore the options (alongside Norfolk Southern personnel who flew in from

Atlanta for the site visits).

       105.   To date, Norfolk Southern has not fulfilled its promise to build the

community center or relocate and rebuild the athletic facilities.

       106.   The general contractor Norfolk Southern engaged for the project

estimated the total cost of the project at over $30,000,000.

       107.   According to publicly available data collected by the Ohio Department

of Education, during the 2023–24 school year, 243 students residing in the East

Palestine School District chose to enroll in neighboring school districts by means of

open enrollment. The financial impact from the resulting decline in enrollment

equates to approximately $1.5 million dollars in annual school district revenue.

       108.   As total student enrollment decreases as a result of the derailment,

Plaintiff will obtain less funding from federal and State sources, while fixed operating

costs for its facilities will likely increase.

       109.   Norfolk Southern has not fulfilled its repeated promises to “make it

right” for the School District. “Making it Right” would mean reimbursing the schools

for the natural and foreseeable consequences of the trainwreck disaster—from the

disaster-relief support the District provided, to fulfilling the commitment to the build




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the wellness center, to covering the lost operating revenue the School District has and

will continue to experience in the aftermath from lost enrollment to reduced income-

and property-tax funds. The students of East Palestine deserve nothing less.

                                 CLAIMS FOR RELIEF
                                CLAIM 1: NEGLIGENCE

      110.   Plaintiff restates the preceding paragraphs.

      111.   Under federal and state law, Norfolk Southern had a duty to use

reasonable care to conduct its operations in transporting hazardous and toxic

chemicals, including, but not limited to, the following duties:

             a.     Operating, maintaining, inspecting, and/or repairing the railway

      and railcars to ensure their safety and proper operation;

             b.     Ensuring alarms and other systems for monitoring malfunctions

      of the railway to prevent derailments;

             c.     Ensuring proper safety procedures in the event of a mechanical

      malfunction of equipment;

             d.     Ensuring proper mechanism(s) for stopping malfunctioning

      railcars without derailment;

             e.     Avoiding overloading the train with excessive railcars or

      materials;

             f.     Selecting train cars that are sufficiently resilient;

             g.     Using placards that survive accidents and fires to identify

      hazardous materials;

             h.     Loading the railcars consistent with accepted practice;



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        i.     Loading the railcars to avoid placements of heavier cars in the

 rear, with particular consideration to whether the planned route is downhill;

        j.     Having an adequate number of staff on board for purposes of

 planning, coordinating, overseeing, and monitoring transport;

        k.     Hiring, training, managing, and supervising agents and

 employees;

        l.     Properly determining the qualifications and capabilities of agents

 and employees;

        m.     Properly determining the adequacy and skill of agents and

 employees;

        n.     Ensuring that agents and employees were properly and

 adequately instructed and trained;

        o.     Properly instructing and adequately training agents and

 employees concerning safety and emergency procedures in the event of a

 possible derailment;

        p.     Properly alerting agents and employees to information crucial to

 the performance of their duties, e.g., timely advising the train crew when a

 train is literally on fire;

        q.     Routing railcars to avoid populated areas to minimize the risk of

 accidental exposure to hazardous materials;

        r.     Adequately warning those in danger of exposure to hazardous

 materials;




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        s.     Instituting proper procedures and training for response to

 mechanical malfunction of a railcar;

        t.     Instituting proper procedures and alarms to identify and address

 fire on a railcar;

        u.     Instituting proper procedures and training to deploy the

 emergency brake in the event of a mechanical malfunction;

        v.     Instituting proper procedures and training to deploy the

 emergency brake in the event of a fire on a railcar;

        w.     Instituting proper procedures and training for response to

 derailment;

        x.     Instituting   proper   procedures   and   training   for   advising

 emergency responders of the contents of railcars in the wake of a derailment;

        y.     Instituting proper procedures for timely notifying governmental

 authorities of a derailment;

        z.     Instituting proper procedures in the event of a derailment to

 avoid exposing the environment to hazardous materials;

        aa.    Timely implementing an emergency-response plan in the event of

 a derailment;

        bb.    Transporting and handling dangerous chemicals so as not to

 cause harm to Plaintiff, as Plaintiff was a foreseeable victim located within the

 zone of danger of Norfolk Southern’s conduct;




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               cc.   Properly disposing of or otherwise eliminating the hazardous

        materials from the derailment site, including avoiding the use of techniques

        that further exposed the community to hazardous chemicals during a vent and

        burn of vinyl chloride;

               dd.   Containing the spread of hazardous chemicals and by-products—

        including vinyl chloride, butyl acetate, benzene, phosgene, hydrogen chloride,

        and other combustible liquids—into the air, water, and soil;

               ee.   Accurately    and   completely    communicating      expertise   and

        dissenting opinions about the proper course of action to the incident

        commander;

               ff.   Investigating the causes of its disproportionate number of

        derailments relative to its competitors and implementing appropriate remedial

        measures to avoid future derailments; and

               gg.   Implementing policies and procedures and making decisions

        about operational safety that do more than comply with the bare minimum of

        federal or State requirements.

        112.   Norfolk Southern breached its duties to Plaintiff in at least the following

ways:

               a.    Failing to operate, maintain, inspect, and/or repair the railway

        and railcars to ensure their safety and proper operation;

               b.    Failing to ensure alarms and other systems for monitoring

        malfunctions of the railway to prevent derailments;




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       c.     Failing to ensure proper safety procedures in the event of a

 mechanical malfunction of equipment;

       d.     Failing to ensure proper mechanism for stopping malfunctioning

 railcars without derailment;

       e.     Failing to avoid overloading the train with excessive railcars or

 materials;

       f.     Failing to load the railcars consistent with accepted practice;

       g.     Failing to load the railcars to avoid placements of heavier cars in

 the rear, with particular consideration to whether the planned route is

 downhill;

       h.     Failing to select railcars that are sufficiently resilient in the event

 of the common occurrence of derailment;

       i.     Failing to use placards that survive accidents and fires to identify

 hazardous materials;

       j.     Using DOT-111 tank cars to transport flammable liquids and

 hazardous materials after the NTSB had recommended their removal from

 flammable liquids service;

       k.     Failing to have an adequate number of staff on board for purposes

 of planning, coordinating, overseeing, and monitoring transport;

       l.     Failing to hire, train, manage, and supervise agents and

 employees;




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       m.     Failing to properly determine the qualifications and capabilities

 of agents and employees;

       n.     Failing to properly determine the adequacy and skill of agents

 and employees;

       o.     Failing to ensure that agents and employees were properly and

 adequately instructed and trained;

       p.     Failing to alert the train crew in a timely fashion that the train

 was on fire and should be stopped;

       q.     Failing to properly instruct and adequately train agents and

 employees concerning safety and emergency procedures in the event of a

 possible derailment;

       r.     Failing to route railcars to avoid populated areas to minimize the

 risk of accidental exposure to hazardous materials;

       s.     Failing to adequately warn those in danger of exposure to

 hazardous materials;

       t.     Failing to institute proper procedures and training for response

 to mechanical malfunction of a railcar;

       u.     Failing to institute proper procedures and alarms to identify and

 address fire on a railcar containing hazardous materials;

       v.     Failing to institute proper procedures and training to deploy the

 emergency brake in the event of a mechanical malfunction;




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        w.    Failing to institute proper procedures and training to deploy the

 emergency brake in the event of a fire on a railcar containing hazardous

 materials;

        x.    Failing to institute proper procedures and training for response

 to derailment, including advising emergency responders of the contents of

 railcars;

        y.    Failing to institute proper procedures for timely notifying

 governmental authorities of a derailment;

        z.    Failing to institute proper procedures in the event of a derailment

 to avoid exposing the environment to hazardous materials;

        aa.   Failing to timely implement an emergency-response plan in the

 event of a derailment;

        bb.   Failing to transport and handle dangerous chemicals so as not to

 cause harm to Plaintiff, as Plaintiff was a foreseeable victim located within the

 zone of danger of Norfolk Southern’s misconduct;

        cc.   Failing to properly dispose of or otherwise eliminate the

 hazardous materials from the derailment site, including avoiding the use of

 techniques that further exposed Plaintiff and the properties in the community

 to phosgene and hydrogen chloride during a vent and burn of vinyl chloride;

        dd.   Failing to contain the spread of hazardous chemicals and by-

 products—including vinyl chloride, butyl acetate, benzene, phosgene,

 hydrogen chloride, and other combustible liquids—into the air, water, and soil;




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             ee.   Failing to investigate the causes of its disproportionate number

      of derailments relative to its competitors and implement appropriate remedial

      measures to avoid future derailments;

             ff.   Failing to reasonably pack, transport, maintain, dispose of, or

      otherwise handle hazardous substances—including vinyl chloride, butyl

      acetate, benzene, phosgene, hydrogen chloride, and other combustible liquids;

             gg.   Recommending, conducting, or authorizing a vent-and-burn

      procedure that was not necessary;

             hh.   Failing to accurately and completely communicate expertise and

      dissenting opinions to the incident commander on the scene;

             ii.   Prioritizing resuming operations over the short- and long-term

      consequences of a vent and burn to the community;

             jj.   Failing to comply with the reasonable standard of care necessary

      for safety; and

             kk.   Otherwise unreasonably causing injury to Plaintiff in ways

      further investigation, discovery, and subsequent revaluation of property and

      reduction in income taxes will reveal.

      113.   Norfolk Southern owed and breached a duty of reasonable care

commensurate with the risk of transporting hazardous materials, which it had

previously blocked shareholder efforts to monitor and improve.




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      114.   Norfolk Southern owed and breached a duty of reasonable care

commensurate with the release and burning of hazardous chemicals, including the

resultant release of phosgene and hydrogen chloride into the air, water and soils.

      115.   Given the significant likelihood of contamination of neighboring areas

and exposure to their residents, Norfolk Southern had a duty to investigate the extent

to which the “vent and burn” of hazardous material was likely to contaminate the air,

water, and soil to levels that would materially increase residents’ concerns of

developing cancer and other latent diseases.

      116.   The damages sustained by Plaintiff were caused or exacerbated by the

fact that Norfolk Southern failed to take necessary actions to mitigate the dangers

associated with its operations.

      117.   As a direct and proximate result of Norfolk Southern’s release of

hazardous materials, Plaintiff’s property, and the properties from which it derives its

operating revenue, were physically invaded by Norfolk Southern’s toxic discharges.

      118.   As a direct and proximate result of Norfolk Southern’s negligence,

Plaintiff, and the properties from which it derives its operating revenue, suffered

property damages as alleged herein, including physical injury to its property; as

corroborated by the presence of odor, visible mists and droplets on properties, and

residents’ health symptoms, including nausea, headaches, vomiting, dizziness, light-

headedness, and nosebleeds; as well as by meteorological and atmospheric analysis

of the toxic plume invading those properties.




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       119.   As a result of Norfolk Southern’s toxic discharges, Plaintiff and its

personnel were pressed into service to respond to the disaster created by Norfolk

Southern. The displacement, inconvenience, and relocation of residents—to date and

continuing into the future—were a direct and proximate result of Norfolk Southern’s

negligence.

       120.   As a direct and proximate result of Norfolk Southern’s negligence,

Plaintiff suffered and will continue to suffer the loss of the quiet use and enjoyment

of its property.

       121.   As a direct and proximate result of Norfolk Southern’s negligence,

Plaintiff has suffered and will continue to suffer legal injury and damages, in an

amount to be proven at trial, including, but not limited to, property damage,

diminution of value of real estate (its own and that from which it derives its operating

revenue), diminution in income-tax revenue from lost wages of continued residents

and relocation of tax base, the cost to repair the damage and restore the property to

its condition prior to the trainwreck and toxic discharges, plus the value of their lost

use of the property as a result of Norfolk Southern’s negligence.

       122.   Plaintiff suffers and will continue to suffer decreased property values

and loss of operating revenue as a result of Norfolk Southern’s conduct.

       123.   Norfolk Southern’s conduct shows that it acted maliciously, with

aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so

as to warrant imposing punitive damages.

           CLAIM 2: STRICT LIABILITY FOR ULTRAHAZARDOUS ACTIVITIES

       124.   Plaintiff restates its previous allegations.


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      125.   At all times relevant to this action, Norfolk Southern was the owner and

operator of Norfolk Southern Freight Train 32N.

      126.   At all times relevant to this action, Norfolk Southern had supervision,

custody, and control of Norfolk Southern Freight Train 32N.

      127.   At all times relevant to this action, Norfolk Southern was under a

continuing duty to protect the Plaintiff from the hazardous chemicals and materials.

      128.   Norfolk Southern engaged in ultrahazardous activities by transporting

hazardous chemicals and toxic pollutants.

      129.   Norfolk Southern is responsible for the harm to Plaintiff, its land, and

its property, as well as the harm to the properties from which Plaintiff derives

operating revenue from property taxes, resulting from Norfolk Southern’s

ultrahazardous activity, regardless of whether it exercised the utmost care to prevent

the harm. See Restatement (Second) of Torts §§ 519–520.

      130.   Plaintiff has suffered harm from Norfolk Southern’s toxic discharges

emanating from Norfolk Southern’s trainwreck and explosive discharge of toxic

chemicals. The injuries sustained by Plaintiff and the properties from which it derives

operating revenue as a result of the toxic discharge of hazardous chemicals that was

the direct and proximate result of Norfolk Southern’s activities.

      131.   The harm to Plaintiff was and is the kind of harm that would be

reasonably anticipated as a result of the risks created by transporting hazardous and

toxic chemicals in close proximity to residential, educational, commercial, and

agricultural areas.




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      132.   Norfolk Southern’s operations and resulting toxic discharges were and

remain substantial factors in causing the harms suffered by Plaintiff.

      133.   Additionally, Norfolk Southern was aware that its failure and/or

disregard for having established plans, processes, and/or protocols for preventing and

appropriately responding to the toxic discharge of hazardous chemicals—and, indeed,

unnecessarily increasing such discharges to benefit its bottom line—would lead to the

probable dangerous consequence of a sustained catastrophic event and harm or injury

to the health and safety of Plaintiff and the community.

      134.   As a direct and proximate result of Norfolk Southern’s ultrahazardous

activities, Plaintiff suffers and will continue to suffer decreased property values and

resulting reduction in income from the property taxes on which it relies.

      135.   As a direct and proximate result of Norfolk Southern’s ultrahazardous

activities, Plaintiff suffers and will continue to suffer loss of income tax on the lost

wages suffered by community members.

      136.   In failing to take protective measures to safeguard against the dangers,

Norfolk Southern acted with a willful and/or knowing disregard of the probable

dangers, and/or acted with an awareness of the probable dangerous consequences of

its conduct and deliberately failed to avoid those consequences, thereby creating a

substantial risk of injury to Plaintiff and the community of residents living near the

trainwreck. Norfolk Southern’s conduct shows that it acted maliciously, with

aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s and the

community’s rights. Plaintiff is entitled to punitive and exemplary damages in an




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amount to be ascertained, which is appropriate to punish or set an example of Norfolk

Southern and deter such behavior by it and others in the future.

        CLAIM 3: BREACH OF CONTRACT (COMMUNITY WELLNESS CENTER)

      137.   Plaintiff restates its previous allegations.

      138.   On or about May 10, 2023, Plaintiff entered into an oral contract with

Norfolk Southern to construct a Community Wellness Center on Plaintiff’s property.

      139.   In furtherance of its public statements that it would “make it right” to

the East Palestine community, Norfolk Southern partnered with Plaintiff to construct

a Community Wellness Center for the joint benefit of the East Palestine community

and Plaintiff.

      140.   In offering to fund construction of a Community Wellness Center,

Norfolk Southern additionally sought to remedy public perception of the company

after causing the derailment disaster.

      141.   Norfolk Southern offered to fund the construction of a Community

Wellness Center on land owned by Plaintiff to remedy the damage to Plaintiff’s

property, damage to public perception of Plaintiff and the larger East Palestine

community, and the loss of revenue to the School District.

      142.   Plaintiff, in turn, accepted Norfolk Southern’s offer and agreed that its

property would be used as the location of the Community Wellness Center.

      143.   Plaintiff answered Norfolk Southern’s call by convening a Steering

Committee to make recommendations on the Community Wellness Center’s

construction and offerings, and gathered local community members and business

owners to populate the community center with programs and services.


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      144.     Norfolk Southern partially performed its promise to construct a

Community Wellness Center by hiring a construction company and architecture firm

to design the Community Wellness Center and by hiring a land-assessment service

to survey the property for construction.

      145.     A reasonable person would find that Norfolk Southern’s partial

performance of its contractual obligations manifested a present intention to be bound

to an agreement.

      146.     Plaintiff performed its obligations under the contract.

      147.     Norfolk Southern breached the contract by failing to fund construction

of the Community Wellness Center.

      148.     Plaintiff has been directly and proximately harmed, and will continue to

be harmed, by Norfolk Southern’s breach, including but not limited to diminution in

property values, lost wages, loss of business income, damage to reputation, and loss

of goodwill.

        CLAIM 4: PROMISSORY ESTOPPEL (COMMUNITY WELLNESS CENTER)

      149.     Plaintiff restates its previous allegations.

      150.     Norfolk Southern made a clear and unambiguous promise to Plaintiff to

engage contractors and fund the construction of a Community Wellness Center, to be

constructed on property owned by Plaintiff.

      151.     The Community Wellness Center was intended for the joint benefit of

Plaintiff and the East Palestine general community as part of Norfolk Southern’s

promise to “make it right” to Plaintiff and the community of East Palestine.




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      152.   The Community Wellness Center was intended to combat the exodus of

families and residents leaving the East Palestine Schools and surrounding

communities.

      153.   The Community Wellness Center was necessary and needed to address

a variety of needs of East Palestine students and residents relating to accessibility to

quality healthcare, related wellness services, and workforce development training

with complete onsite community resources.

      154.   The Community Wellness Center was intended to provide academic

programming and training to K-12 students, including but not limited to skilled

trades pre-apprenticeship programs, STEM classes, entrepreneur and leadership

classes, a career-based intervention program, as well as a variety of student athletic

programs.

      155.   On information and belief, the Community Wellness Center was, form

Norfolk Southern’s perspective, intended to improve public perception of the company

that had devastated the East Palestine community.

      156.   On or about May 2023, in furtherance of Norfolk Southern’s promise,

Norfolk Southern engaged a contracting company, DeSalvo Construction, and

architecture firm to provide a written assessment of the costs associated with

building the Community Wellness Center and relocating the athletics facilities.

      157.   Norfolk Southern and Plaintiff toured similar facilities in surrounding

school districts to see other community centers constructed by the contractor Norfolk

Southern chose for the project.




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      158.   On or about June 26, 2023, Norfolk Southern produced DeSalvo

Construction’s design proposal to Plaintiff for review.

      159.   On October 30, 2023, Norfolk Southern requested access to school

property for testing and assessments to ensure environmental feasibility of

constructing the Community Wellness Center on Plaintiff’s property.

      160.   Relying upon Norfolk Southern’s promise, Plaintiff granted the

requested access by executing an access agreement with Norfolk Southern.

      161.   On or about January 2024, Norfolk Southern directed Plaintiff to

assemble a steering committee to provide community input on the construction of the

Community Wellness Center and gather agreements from local businesses to

populate the Community Wellness Center.

      162.   Relying upon Norfolk Southern’s promise, Plaintiff assembled the

committee, consisting of twenty-seven members, and gathered agreements from

twenty-four businesses, programs, and institutions to be part of the Community

Wellness Center.

      163.   The steering committee met on at least three occasions between January

and March 2024.

      164.   On January 11, 2024, Norfolk Southern sent a map of the proposed

construction site depicting the location of the Community Wellness Center.

      165.   On March 15, 2024, Plaintiff requested an update from Norfolk

Southern on the Community Wellness Center. An employee of Norfolk Southern

replied that they “have not forgotten that we owe you an update,” “will work to get




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you an update soon so you can keep the conversation moving on your side,” and

requested the list of business partners lined up to be a part of the Community

Wellness Center.

      166.   Norfolk Southern partially performed its promise to construct a

Community Wellness Center by hiring a construction company and architecture firm

to design the Community Wellness Center and by hiring a land-assessment service

to survey the property for construction.

      167.   Plaintiff reasonably relied on these actions and statements from Norfolk

Southern that the Community Wellness Center would be constructed.

      168.   Plaintiff’s reliance on Norfolk Southern’s promise was foreseeable, given

Norfolk Southern’s representations and conduct in furtherance of constructing the

Community Wellness Center and Norfolk Southern’s consistent and unequivocal

statements to the public and government officials, including, e.g., its statements on

its www.NSMakingitRight.com website that it was going to “SEE THIS THROUGH”

and be “HERE FOR THE LONG HAUL” to “ENSURE THE AREA RECOVERS AND

THRIVES.”

      169.   To date, Norfolk Southern has failed to perform on its promise to

construct the Community Wellness Center.

      170.   Plaintiff relied on Norfolk Southern’s promise and has not utilized the

property earmarked for the Community Wellness Center.

      171.   Plaintiff relied on Norfolk Southern’s promise and partial performance

to its detriment. Plaintiff’s standing in the community has been damaged because of




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the failure to construct a Community Wellness Center on school property. Plaintiff

has, and will continue to, lose revenue due to the exodus of students from East

Palestine, which the Community Wellness Center was intended to remedy.

       172.    Norfolk Southern’s promise must be enforced to avoid injustice to

Plaintiff.

       173.    Plaintiff has been directly and proximately injured because of its

reliance on Norfolk Southern’s promise, including but not limited to diminution in

property values, lost wages, loss of operating income, damage to reputation, and loss

of goodwill.

                              CLAIM 5: QUANTUM MERUIT

       174.    Plaintiff restates its previous allegations.

       175.    Plaintiff conferred a benefit upon Norfolk Southern by allowing Norfolk

Southern to utilize its facilities and staff to provide services to evacuated East

Palestine residents during the derailment disaster.

       176.    Norfolk Southern sought this benefit from Plaintiff at least in part to

remedy its public perception in the immediate aftermath of the derailment disaster.

       177.    Norfolk Southern knew of the benefit conferred upon it by Plaintiff.

       178.    Norfolk Southern retained the benefit, such that it is unjust to do so

without payment.

       179.    Plaintiff has been directly and proximately injured by the retention of

the benefit by Norfolk Southern, including but not limited to diminution in property

values, loss of operating income, damage to reputation, and loss of goodwill.




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             CLAIM 6: PROMISSORY ESTOPPEL (DISASTER REIMBURSEMENT)

       180.    Plaintiff restates its previous allegations.

       181.    Norfolk Southern made a clear and unambiguous promise to reimburse

Plaintiff for all costs Plaintiff incurred relating to damage from the derailment

disaster.

       182.    Norfolk Southern additionally made a clear and unambiguous promise

to reimburse Plaintiff for costs relating to the need for increased virtual learning

services for students who would not be able to attend in person classes due to damage

from the derailment.

       183.    Plaintiff reasonably relied on Norfolk Southern’s promise to reimburse

it for increased virtual learning services by paying staff wages and paying increased

fees to a virtual learning vender to provide those services.

       184.    Plaintiff’s reliance on Norfolk Southern’s promise was foreseeable, given

Norfolk Southern’s representations and conduct.

       185.    To date, Norfolk Southern has failed to perform on its promise to

reimburse Plaintiff for costs relating to the derailment and virtual learning services.

       186.    Norfolk Southern’s promise must be enforced to avoid injustice to

Plaintiff.

       187.    Plaintiff reasonably relied on Norfolk Southern’s promise to reimburse

for costs and provided access to Plaintiff’s facilities, equipment, vehicles, and staff to

assist in evacuating and housing East Palestine residents during and immediately

after the derailment.




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       188.   Plaintiff’s reliance on Norfolk Southern’s promise was foreseeable, given

Norfolk Southern’s representations and conduct.

       189.   To date, Norfolk Southern has failed to perform on its promise to

reimburse Plaintiff for costs relating to the derailment and access to Plaintiff’s

facilities, equipment, vehicles, and staff to assist in evacuating and housing East

Palestine residents during and immediately after the derailment.

       190.   Norfolk Southern’s promise must be enforced to avoid injustice to

Plaintiff.

       191.   Plaintiff incurred costs relating to the derailment disaster, including but

not limited to staff wages and time, use of Plaintiff’s facilities, and damage to

Plaintiff’s equipment.

       192.   Plaintiff incurred costs relating to the increased need for virtual

learning services, including but not limited to staff wages and virtual learning vender

expenses.

       193.   Plaintiff was not able to secure full reimbursement from State and

federal emergency-relief sources because of Norfolk Southern’s representation that it

would cover those costs.

       194.   To date, Norfolk Southern has not reimbursed Plaintiff for all costs

incurred and that will be incurred as a result of the derailment disaster.

                           CLAIM 7: STATUTORY NUISANCE

       195.   Plaintiff restates its previous allegations.




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      196.   Section 112 of the federal Clean Air Act includes vinyl chloride in the

list of hazardous air pollutants and sets a national emission standard. 41 Fed. Reg.

46560.

      197.   Under Ohio Rev. Code § 3704.03, “no person shall cause, permit, or allow

emission of an air contaminant in violation of any rule adopted by the director of

environmental protection.”

      198.   Norfolk Southern’s trainwreck, fire, intentional ignition of vinyl

chloride, and resulting toxic discharges emitted dangerous amounts of vinyl chloride

and other hazardous chemicals into the air in and surrounding the properties of

Plaintiff and the community.

      199.   As a direct and proximate result of Norfolk Southern’s acts and

omissions described above, Plaintiff’s property was exposed to hazardous air

pollutants in violation of State and federal law.

      200.   Exposing the Village of East Palestine and its School District to toxic

chemicals resulted in a continuing negative perception of the community, resulting

in it being viewed as a less desirable place to live and resulting in past and likely

future relocations of residents.

      201.   Exposing the Village of East Palestine and its School District to toxic

chemicals resulted in a continuing negative perception of the community, resulting

in it being viewed as a less desirable place to attend school and resulting in past and

likely future withdrawal of students from the School District.




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      202.   Norfolk Southern’s conduct shows that it acted maliciously, with

aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so

as to warrant imposing punitive damages.

                   CLAIM 8: WANTON AND WILLFUL MISCONDUCT

      203.   Plaintiff restates its previous allegations.

      204.   Norfolk Southern had a duty to Plaintiff to refrain from wanton or

willful misconduct.

      205.   On information and belief, Norfolk Southern was aware that it was

transporting substances that were highly toxic, carcinogenic, or otherwise harmful to

human beings, animals, and the environment.

      206.   Norfolk Southern was aware that transporting, releasing, and igniting

substances that were highly toxic, carcinogenic, or otherwise harmful to human

beings, animals, and the environment could result in unreasonably dangerous

emission of hazardous materials into the surrounding areas.

      207.   Norfolk Southern knew or should have known that at least one railcar

was malfunctioning and/or on fire for at least 20 miles before the trainwreck.

      208.   Despite its knowledge, and contrary to federal and standard industry

practices and procedures, Norfolk Southern breached its duties as described in Claim

1 above.

      209.   Norfolk Southern’s decision to vent and burn the vinyl chloride cars was

motivated by its desire to resume rail operations as quickly as possible rather than

by any actual risk posed by the vinyl chloride tanks (which were consistently down-

trending in temperature). Norfolk Southern elevated considerations of its bottom line


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above the harm it would permanently cause the East Palestine community and its

School District through the vent-and-burn plan.

      210.    Through its actions and omissions described above, Norfolk Southern

failed to exercise any care toward Plaintiff, to whom it owed a duty of reasonable care.

This failure to exercise any care occurred under circumstances for which the

probability of harm was great and the probability of harm was known to Norfolk

Southern.

      211.    Through its actions and omissions described above, Norfolk Southern

intentionally deviated from a clear duty or definite rule of conduct, acted with a

deliberate purpose not to discharge a duty necessary to safety, or purposely performed

wrongful acts with knowledge and appreciation of the likelihood of resulting injury.

      212.    As a direct and proximate result of Norfolk Southern’s wanton and

willful misconduct, Plaintiff has suffered and continues to suffer harm, injury, and

losses, including physical injury to property, loss of use and enjoyment of its property,

and diminution in property values, lost wages resulting in lower operating revenue,

loss of income, loss of reputation, and loss of goodwill.

      213.    Norfolk Southern’s conduct shows that it acted maliciously, with

aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so

as to warrant imposing punitive damages.

             CLAIM 9: INDUCING PANIC THROUGH DISORDERLY CONDUCT
              UNDER OHIO REV. CODE §§ 2307.60, 2917.31, AND 2917.11

      214.    Plaintiff restates its previous allegations.




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         215.   Ohio Rev. Code § 2917.31(A)(3) provides that “[n]o person shall cause

the evacuation of any public place, or otherwise cause serious public inconvenience

or alarm, by doing any of the following: . . . [c]ommitting any offense, with reckless

disregard of the likelihood that its commission will cause serious public inconvenience

or alarm.”

         216.   Ohio Rev. Code § 2917.11(A)(4) prohibits “[h]indering or preventing the

movement of persons on a public street, road, highway, or right-of-way, or to, from,

within, or upon public or private property, so as to interfere with the rights of others,

and by any act that serves no lawful and reasonable purpose of the offender.”

         217.   Ohio Rev. Code § 2917.11(A)(5) prohibits “[c]reating a condition that is

physically offensive to persons or that presents a risk of physical harm to persons or

property, by any act that serves no lawful and reasonable purpose of the offender.”

         218.   Through the acts and omissions described above, Norfolk Southern

induced panic through disorderly conduct.

         219.   Norfolk Southern had no lawful or reasonable purpose in derailing the

train.

         220.   Norfolk Southern had no lawful or reasonable purpose in releasing and

igniting thousands of pounds of toxic chemicals into the environment.

         221.   Under Ohio Rev. Code § 2307.60(A)(1), “Anyone injured in person or

property by a criminal act has, and may recover full damages in, a civil action unless

specifically excepted by law, may recover the costs of maintaining the civil action and

attorney’s fees if authorized by any provision of the Rules of Civil Procedure or




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another section of the Revised Code or under the common law of this state, and may

recover punitive or exemplary damages if authorized by section 2315.21 or another

section of the Revised Code.”

      222.   As a direct and proximate result of Norfolk Southern’s unlawful actions

in derailing the train and implementing the vent-and-burn plan, Plaintiff suffered

and continues to suffer harm.

      223.   Norfolk Southern’s conduct shows that it acted maliciously, with

aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so

as to warrant imposing punitive damages.

                                 REQUEST FOR RELIEF

      Plaintiff requests judgment against Defendants as follows:

      A.     For all recoverable compensatory, statutory, and other damages

sustained by Plaintiff, including all relief allowed under applicable laws;

      B.     For payment of attorneys’ fees and expenses as may be allowable under

applicable law;

      C.     For both pre-judgment and post-judgment interest on any amounts

awarded;

      D.     For punitive damages, according to proof;

      E.     For injunctive and declaratory relief, as allowed by law; and

      F.     Such other and further relief as this Court may deem just and proper.

                                DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury on all issues so triable.




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Dated: April 30, 2025          Respectfully submitted,


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